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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                                        Docket Ref. Nos.: 19 and 54

                                                       Hearing Date: September 14, 2023 at 2:00 P.M. (ET)

    NOTICE OF AMENDMENT NO. 1 TO THE SENIOR SECURED SUPER PRIORITY
                DEBTOR IN POSSESSION LOAN AGREEMENT

                  PLEASE TAKE NOTICE that on August 10, 2023, the above-captioned debtors

and debtors-in-possession (collectively, the “Debtors”) filed the Motion of the Debtors for Interim

and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize

Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties,

(III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related

Relief [Docket No. 19] (the “Motion”).

                  PLEASE TAKE FURTHER NOTICE that a copy of the Senior Secured Super

Priority Debtor in Possession Loan Agreement dated as of August 9, 2023 (the “DIP Credit

Agreement”) was filed with the Bankruptcy Court on August 10, 2023 at Docket No. 40-1.2

                  PLEASE TAKE FURTHER NOTICE that on August 11, 2023, the United States

Bankruptcy Court for the District of Delaware (the “Court”) entered an Interim Order



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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
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     A capitalized term used but not defined herein shall have the meaning ascribed to it in the DIP Credit Agreement.
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(I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash

Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the

Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (the “Interim

Order”) [Docket No. 54].

        PLEASE TAKE FURTHER NOTICE that the Debtors have entered Amendment No. 1

to Senior Secured Super Priority Debtor in Possession Loan Agreement (the “Amendment”),

attached hereto as Exhibit A. The modifications of the Milestones set forth in the Amendment

allow the Debtors to move forward with the sale of their Consumer Brands Business while

continuing to work constructively with numerous parties in interest toward a consensual plan of

reorganization focused on their other businesses.

                   Pursuant to the Amendment, certain Milestones have been modified, such that the

current Milestones are as follows:

         Date                                               Milestone
September 13, 2023             Deadline for Consumer Brands Sale Toggle Event Notice
September 18, 2023             Deadline to file Consumer Brands Bidding Procedures Motion
September 27, 2023             Plan Support Agreement/Plan, Disclosure Statement Filing Deadline
October 18, 2023               Deadline for entry of Consumer Brands Bidding Procedures Order
November 3, 2023               Disclosure Statement Hearing Order Deadline
December 8, 2023               Plan Voting Deadline
                               Deadline for entry of order approving Consumer Brands Business
December 12, 2023
                               Sale Transaction
December 18, 2023              Confirmation Order Deadline
                               Deadline to close Consumer Brands Business Sale Transaction and
December 29, 2023
                               Plan Effective Date

                   PLEASE TAKE FURTHER NOTICE that a hearing to consider the final relief

requested in the Motion will be held before the Honorable Thomas M. Horan at the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd Floor, Courtroom 7,

Wilmington, Delaware 19801, on September 14, 2023 at 2:00 p.m. (prevailing Eastern Time).

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 Dated: September 13, 2023               PACHULSKI STANG ZIEHL & JONES LLP

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                                         Debtors-in-Possession




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                      Exhibit A

                     Amendment
